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                                                         Hearing Date & Time: July 8, 2020 at 10:00 a.m.
                                                                     Objection Deadline: June 23, 2020

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re ORLY GENGER,                                              Chapter 7

         Debtor.                                                 Case No. 19-13895 (JLG)



            NOTICE OF MOTION FOR ORDER CONFIRMING THAT THE
                    AUTOMATIC STAY DOES NOT APPLY TO
                  CERTAIN NON-BANKRUPTCY LITIGATIONS

        PLEASE TAKE NOTICE that on July 8, 2020 at 10:00 a.m., The Orly Genger 1993

Trust, by its trustee Michael Oldner, Recovery Effort, Inc., and Manhattan Safety Maine, Inc.

(together, “Movants”), by and through the undersigned counsel, will move (the “Motion”) before

the Honorable Judge James L. Garrity Jr., United States Bankruptcy Judge, in the United States

Bankruptcy Court for the Southern District of New York, Courtroom 601, One Bowling Green,

New York, New York 10004 or as soon thereafter as counsel can be heard, for entry of an order

(a) pursuant to sections 105(a) and 362(j) of chapter 11 of title 11 of the United States Code,

§§ 101-1532 et seq. (the “Bankruptcy Code”) confirming that the automatic stay of 11 U.S.C. §

362(a) does not apply to the following pre-petition actions involving all non-debtor parties

pending before the United States District Court for the Southern District of New York: (i) Recovery

Effort Inc. v. Zeichner Ellman & Krause LLP and Wachtel Missry, 19-cv-05641-VSB; and (ii) Manhattan

Safety Maine, Inc. and Recovery Effort, Inc. v. Michael Bowen, Arie Genger, Arnold Broser, David Broser,

Genger Litigation Trust, ADBG LLC and Tedco, Inc., 19-cv-05642-MKV-DCF; and (b) granting

related relief.

        PLEASE TAKE FURTHER NOTICE that a copy of the Motion is available for

inspection during normal business hours at the office of the Clerk of the United States
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Bankruptcy Court for the Southern District of New York located at One Bowling Green, New

York, New York 10004, or may be obtained by contacting the undersigned counsel.

       PLEASE TAKE FURTHER NOTICE that responses and objections, if any, to the

Motion and the proposed order must be made in writing, conformed to the Bankruptcy Rules

and the Local Bankruptcy Rules for the Bankruptcy Court and be filed with the Bankruptcy

Court electronically in accordance with General Order M-399 (a copy of which can be found at

www.nysb.uscourts.gov, the official website for the United States Bankruptcy Court for the Southern

District of New York), by registered users of the Bankruptcy Court’s case filing system and, by all

other parties in interest, in Portable Document Format (PDF), Microsoft Word, or any other

word processing format (with a hard copy delivered directly to Chambers) and shall be served

upon: (i) counsel to Movants, Pollock Cohen LLP, 60 Broad Street, 24th Floor, New York, New

York 10004; (ii) Deborah J. Piazza, Chapter 7 Trustee, Attn: Rocco A. Cavaliere, Esq., Tarter

Krinsky & Drogin LLP, 1350 Broadway, 11th Floor, New York, New York 10018; and (iii) all

parties who have filed a notice of appearance and request for service of documents, so as to be

actually received by no later than June 23, 2020 (the “Objection Deadline”).

Dated: June 8, 2020
       New York, NY
                                              POLLOCK COHEN LLP

                                              By: /s/ Adam Pollock
                                               Adam Pollock
                                              60 Broad St., 24th Floor
                                              New York, NY 10004
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                                              Attorneys for the Orly Genger Trust, by its Trustee
                                              Michael Oldner; Recovery Effort, Inc.; and
                                              Manhattan Safety Maine, Inc
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